Case 6:23-cv-02043-JSS-RMN Document 15 Filed 12/08/23 Page 1 of 1 PagelD 128

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
Colby Alexander Frank
Plaintiff,
Vv. Case No: 6:23-cv-2043-PGB-RMN
Randy Fine
Defendant.

Compliance with Orders

Plaintiff files the following documents in compliance with Document 3
Filed 10/24/23.

1. Disclosure Statement Pursuant to Federal Rule of Civil Procedure 7.1
and Local Rule 3.03

2. Uniform Case Management Report

3. Notice of Pendency of Other Actions

Plaintiff also files a second affidavit of service process issuing a true and
correct copy of the entire initial complaint and evidence (doc 1) anda

conditional acceptance offer to contract demanding a response within 30
days to the office of Randy Fine.
